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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                              UNITED STATES BANKRUPTCY COURT                                          October 13, 2022
                                SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

In re:                                                        §
                                                              §        Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                    §        Chapter 11 (Subchapter V)
                                                              §
         Debtor.                                              §

     ORDER (A) AUTHORIZING EMPLOYMENT OF PATRICK MAGILL AS CHIEF
    RESTRUCTURING OFFICER, (B) AUTHORIZING EMPLOYMENT OF STAFF OF
    MAGILL PC IN DISCHARGE OF DUTIES AS CHIEF RESTRUCTURING OFFICER,
                     AND (C) GRANTING RELATED RELIEF

         Upon the Debtor’s Application for Order (A) Authorizing Employment of Patrick Magill

as Chief Restructuring Officer, (B) Authorizing Employment of Staff of Magill, PC in Discharge

of Duties as Chief Restructuring Officer, and (C) Granting Related Relief (the “Application”) 1;

and the Court having jurisdiction to consider the Application and the relief requested therein

pursuant to 28 U.S.C. § 1334; and consideration of the Application and the requested relief being

a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court

pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Application having been

provided, and it appearing that no other or further notice need be provided; and the Court having

determined that the legal and factual bases set forth in the Application establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor, IT IS

HEREBY ORDERED THAT:

         1.      The Application is granted, to the extent set forth herein.

         2.      In accordance with Bankruptcy Code §§ 327(a), 328 and 330 and Bankruptcy Local

Rule 2014-1, the Debtor is authorized to employ and retain Magill, effective as of the Petition



1
 Capitalized terms used by not otherwise defined in this Order shall have the meanings ascribed to such terms in the
Application.
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Date, as its chief restructuring officer (the “CRO”), under the terms and conditions set forth in the

Application and the Engagement Agreement attached to the Application as Exhibit A thereto, as

modified herein.

       3.      Notwithstanding anything else in this Order, the Motion, the Debtor’s corporate

governance documents, or any exhibits and attachments to any of the foregoing, during the

pendency of this chapter 11 case:

               a.      Subparagraph 9 of the Engagement Agreement, attached as Exhibit A to the

                       Motion, is modified to strike the second sentence.

               b.      Subparagraph 17 of the Engagement Agreement, attached as Exhibit A to

                       the Motion, is modified to read as follows: “Make business decisions on

                       behalf of FSS as necessary or required, utilizing the CRO’s business

                       judgment in aid of the restructuring.”

               c.      The CRO shall report to the member(s) of the Debtor. This Order does not

                       remove or displace any member of the Debtor under the Company

                       Agreement of Free Speech Systems, LLC.

       4.      The CRO shall hold confidential any material, non-public information of or

pertaining to FSS and/or Jones delivered to the CRO, except to the extent that such information

and the person to whom such information is disclosed are subject to a protective order that is

entered in these Chapter 11 Case or (i) as otherwise required to be disclosed pursuant to an order

of the court or (ii) for use in the ordinary course of Debtor’s business.

       5.      The compensation to be paid to Magill P.C. and J. Patrick Magill shall be a flat rate

of $50,000 per month, payable semi-monthly in the amount of $25,000 and shall constitute an

administrative expense of Debtor’s estate.
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       6.      Magill PC and J. Patrick Magill shall not be required to file fee applications or

Monthly Fee Statements.

       7.      The CRO and Firm will review their files periodically during the pendency of the

Chapter 11 Case to ensure that no conflicts or other disqualifying circumstances exist or arise. If

any new relevant facts or relationships are discovered or arise, the CRO and Firm will use

reasonable efforts to identify such further developments and will promptly file a supplemental

Declaration, as required by Fed. R. Bankr. P. 2014(a).

       8.      To the extent the Application, the Magill Declaration, or the Engagement

Agreement is inconsistent with this Order, the terms of this Order shall govern.

       9.      The Debtor, the CRO, and Firm are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Application.

       10.     This Court shall retain exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, or enforcement of this Order.

       Dated this __ day of October 2022.

              August13,
              October 02,2022
                          2019                 ___________________________________
                                               UNITED STATES BANKRUPTCY JUDGE
